                          Case 5:21-cv-00446-D Document 1 Filed 05/05/21 Page 1 of 9                                                    SAMPLE 1

Pro Se 1 (Rev. 12/16") Complaint fora Civil Case

                                                                                                                         ^lEicr
                                        United States District Court
                                                                      for the                                             MAY 05 2021
                                                      Western District of Oklahoma
                                                                                                            U.S. DIST.



                                                                                                 CIV-21-446-D
                                                                                Case No.


             /I(leU .                                L                                     (to befilled in by the Clerk's Office)

                              Plaintijf(s)
(Write thefull name ofeach plaintiffwho isfiling this complaint.
Ifthe names ofall the plaintiffs cannotfit in the space above,                  Jury Trial: (checkone) \ |Yes| [No
please write "see attached" in the space and attach an additional
page with thefull list ofnames.)
                                  -V-




                                                            L[]_a^ck&y'
                            Defendam(s)
(Write thefull name ofeach defendant who is being sued. Ifthe
names ofall the defendants cannotfit in the space above, please
write "see attached" in the space and attach an additional page
with thefull list ofnames.)



                                                   COMPLAINT FOR A CIVIL CASE


I.        The Parties to This Complaint
          A.         The Piaintiff(s)

                     Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                     needed.

                                Name
                                                                                             L
                                Street Address
                                                                    -.2.\s       .. Xau;
                                City and County
                                State and Zip Code
                                Telephone Number
                               E-mail Address



          B.         The Defendant(s)

                    Provide the information below for each defendant named in the complaint, whether the defendant is an
                    individual, a government agency, an organization, or a corporation. For an individual defendant,
                    include the person's job or title (ifknown). Attach additional pages if needed.


                                                                                                                                    Page 1 of5
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                     Defendant No. 1

                                Name                                 gC Mamu>v\
                                Job or Title (ifknown)
                                Street Address

                                City and County
                                State and Zip Code           OKlcikofnoi f 735'5'y'
                                Telephone Number
                                E-mail Address (ifknown)


                      Defendant No.2

                                Name

                                Job or Title (ifknown)      /^aj6r
                                Street Address

                                City and County
                                 State and Zip Code
                                                                     lOM(V ^
                                 Telephone Number
                                 E-mail Address (ifknown)
                                                            MiAcc                    L
                                                                                  f)l'k/ / co^


                      Defendant No.3

                                 Name
                                                            ScoiifJ^ojddtJ
                                 Job or Title (ifknown)
                                 Street Address
                                                            , /£)S
                                 City and County
                                 State and Zip Code            klqiiofyiA
                                 Telephone Number
                                 E-mail Address (ifknown)


                      Defendant No.4

                                 Name

                                 Job or Title (ifknown)       like Officer
                                 Street Address
                                                            (05-5^nm^kmK
                                 City and County
                                                                            6ni
                                 State and Zip Code              la
                                 Telephone Number
                                                            [5M) 782-3.?g2
                                 E-mail Address (ifknown)




                                                                                                 Page 2 of5
                                Case 5:21-cv-00446-D Document 1 Filed 05/05/21 Page 3 of 9

Pro Se 1 (Rev 17-/1   Cotnplaint for a Civil Case

                      Defendant Ndc£)
                                 Name

                                 Job or Title (ifknown)           /(ce
                                  Street Address                !o6 5. reNtey/vijNt'i
                                  City and County
                                  State and Zip Code             OM la(mq I 7Si'S"¥
                                  Telephone Number              (5S6) n'ip.'33U
                                  E-mail Address (ifknown)


                       Defendant No.2

                                  Name

                                   Job or Title (ifknown)
                                   Street Address

                                   City and County
                                   State and Zip Code
                                   Telephone Number
                                   E-mail Address (ifknown)



                        Defendant No.3

                                    Name

                                    Job or Title (ifknown)
                                    Street Address

                                    City and County
                                    State and Zip Code
                                    Telephone Number
                                    E-mail Address (ifknown)


                         Defendant No.4

                                     Name

                                     Job or Title (ifknown)
                                     Street Address

                                     City and County
                                     State and Zip Code
                                     Telephone Number
                                     E-mail Address (ifknown)




                                                                                             Page 2 of5
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11.        Basis for Jurisdiction

           Federal courts are courts oflimited jurisdiction (limited power). Generally, only two types of cases can be
           heard in federal court: cases involving a federal question and cases involving diversity of citizenship ofthe
           parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
           is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
           another State or nation and the amount at stake is more than $75,000 is a diversity ofcitizenship case. In a
           diversity of citizenship case, no defendant may be a citizen ofthe same State as any plaintiff.
            What is the basis for federal courtjurisdiction? (check all that apply)
                   ^Federal question                                  □ Diversity of citizenship

            Fill out the paragraphs in this section that apply to this case.
            A.         If the_Basis for Jurisdiction Is a FederaLQuestion                                       _

                       List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                       are at issue in this case.




            B.         If the Basis for Jurisdiction Is Diversity of Citizen^ip
                                   The PlaintifF(s)

                                   a.         If the plaintiff is an individual
                                              The plaintiff, (name)                                                 , is a citizen of the

                                              State of (name)


                                   b.         If the plaintiff is a corporation
                                              The plaintiff, (name)                                        _         is incorporated
                                              under the laws of the State of (name)
                                               and has its principal place of business in the State of (name)


                                    (If more than one plaintiff is named in the complaint, attach an additional page providing the
                                    same information for each additional plaintiff.)

                                    The Defendant(s)

                                               If the defendant is an individual

                                               The defendant, (name)                                                , is a citizen of
                                               the State of (name)                                              Or is a citizen of
                                               (foreign nation)


                                                                                                                                 Page 3 of 5
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                                   b.         If the defendant is a corporation
                                              The defendant, (name)                                      ,is incorporated under
                                              the laws of the State of(name)                                       , and has its
                                              principal place of business in the State of(name)
                                              Or is incorporated under the laws of(foreign nation)
                                              and has its principal place of business in (name)

                                  (Ifmore than one defendant is named in the complaint, attach an additional page providing the
                                  same informationfor each additional defendant.)

                       3.          The Amount in Controversy

                                   The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
                                   stake-is more than $75,000, not counting interest and costs of court, because (explain)'.




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III.        Statement of Claim


            Write a short and plain statement ofthe claim. Do not make legal arguments. State as briefly as possible the
            facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
            involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
            the dates and places ofthat involvement of conduct. If more than one claim is asserted, number each claim and
            write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.




            "5-<^e Q
 IV.        Relief


            State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
            arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
            the amounts ofany actual damages claimed for the acts alleged and the basis for these amounts. Include any
            punitive or exemplary damages claimed,the amounts, and the reasons you claim you are entitled to actual or
             punitive money damages.




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V.        Certification and Closing

         l!l!frr             a"'®                  '•' signing below,1 certify to the best of my knowledge information
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         ^^essary delay,He^r                ''T®
                        or needlessly inerease                    ^(2)is supported
                                               the cost of litigation;      Pn>Pose,bysuch as tolaw
                                                                                       existing  harass!
                                                                                                    or bvcause
                                                                                                          a
         evidemSLpwrt m ifId"t"'''n®'              °r reversing existing law;(3)the factual contentions have
         ODDOiSr fnr^l? If specifically so identified, will likely have evidentiaiy support after a reasonable
         requimlnts of^I jnvestigation or discovery; and(4)the complaint otherwise complies with the
         A.         For Parties Without an Attorney
                    I agree to provide the Clerk's Office with any changes to my address where case-related papers mav be
                    LThfdismtToTmy^^^^^^^
                   Date ofsigning:


                   Signature ofPlaintiff
                   Printed Name of Plaintiff

        B.         For Attorneys

                   Date ofsigning:


                   Signature of Attorney
                   Printed Name of Attorney
                  Bar Number

                  Name of Law Firm
                  Street Address
                  State and Zip Code
                  Telephone Number
                  E-mail Address




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